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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                       §                         Case No. 19-34054-sgj11
                              §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P.,                        §                         Chapter 11
                              §
       Debtor                 §

 OFFICIAL COMMITTEE OF                        §
 UNSECURED CREDITORS,                         §
                                              §
          Plaintiff,                          §          Adversary No. 20-03195
                                              §
 vs.                                          §
                                              §
 CLO HOLDCO, LTD., CHARITABLE                 §
 DAF HOLDCO, LTD., CHARITABLE                 §
 DAF FUND, LP, HIGHLAND DALLAS                §
 FOUNDATION, INC., THE DUGABOY                §
 INVESTMENT TRUST, GRANT JAMES                §
 SCOTT III IN HIS INDIVIDUAL                  §
 CAPACITY, AS TRUSTEE OF THE                  §
 DUGABOY INVESTMENT TRUST, AND                §
 AS TRUSTEE OF THE GET GOOD                   §
 NONEXEMPT TRUST, AND JAMES D.                §
 DONDERO,                                     §
                                              §
          Defendants.                         §

                           DECLARATION OF MARK PATRICK

I, Mark Patrick, hereby declare as follows:

   1. My name is Mark Patrick, and I am over the age of 21. I have personal knowledge of the
      facts set forth herein, and make this declaration pursuant to 28 U.S.C. § 1746.

   2. I am the managing member of the sole general partner of Charitable DAF Fund, L.P. which
      is the owner of CLO HoldCo, Ltd., and as well I am the control person of CLO HoldCo
      Ltd.




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     3. I have reviewed the Stipulation and Order Regarding Registry Funds and Dismissal of
        Motion for Preliminary Injunction (the “Stipulation and Order”) and make this Declaration
        in support of the entry of the Stipulation and Order.1

     4. As set forth in the Stipulation and Order, upon receipt of the Registry Funds, CLO HoldCo
        intends to transfer the Registry Funds up through its affiliates to the Highland Dallas
        Foundation (“HDF”). HDF intends the Registry Funds to be used as follows: in accordance
        with certain grant requests (“Grant Requests”) from (i) The Family Place, the largest
        domestic violence services provider in Texas, seeking One Million Dollars ($1,000,000)
        in funding to rebuild and fully restore services to the emergency shelter facilities damaged
        by the February 2021 winter storm and to provide long-term funding for the nursing staff
        in the emergency shelter’s onsite medical clinic, and (ii) the Dallas Children’s Advocacy
        Center (“DCAC”), an agency that coordinates critical services for the most severe child
        abuse cases in Dallas County, seeking One Million Dollars ($1,000,000) in funding to fill
        funding gaps created by a decrease in public funding and by pandemic-related fundraising
        challenges and to expand forensic interview capacity and related services to accommodate
        the recent increase in cases, which stems in part from DCAC’s increased collaboration with
        local law enforcement agencies in investigating and prosecuting abuse cases and providing
        support for victims of child abuse and their non-offending family members. True and
        correct copies of these Grant Requests are attached hereto as Exhibit 1 and Exhibit 2,
        respectively. Further, I am aware that HDF intends to contributed to The Dallas
        Foundation the remaining Registry Funds through the HDF Grant (approximately Three
        Hundred Eighty-Eight Thousand Five Hundred Forty-Eight and No/100ths dollars
        ($388,548)) to help seed The Dallas Foundation’s Racial Equity Fund, which aims to use
        collective influence and resources to advance equity for Black and Hispanic residents of
        the Dallas area through focused grantmaking to nonprofits and advocating for actionable
        policies.

     5. Further, I am aware that Mr. Matthew Randazzo (President and Chief Executive Officer of
        The Dallas Foundation) and another key member of The Dallas Foundation’s executive
        team (Julie Diaz, Executive Vice President and Chief Operating Officer) are The Dallas
        Foundation’s appointees to the HDF Board (comprised of three (3) members). Mr.
        Randazzo and Ms. Diaz comprise a majority of the HDF Board, and have determined that
        upon the issuance of an order from this Court and the receipt by HDF of the amount of
        CLO HoldCo Funds, a formal meeting will be conducted to the extent necessary and the
        majority of the HDF Board has determined to approve the HDF Grant. I am also aware
        that Mr. Randazzo is authorized to represent and has represented that The Dallas
        Foundation, upon receipt of the HDF Grant, has approved the HDF Grant and the Grant
        Requests.




1
 Capitalized terms not otherwise defined herein take their meaning from the Stipulation and Order, except that
Registry Funds as defined in the Stipulation and Order is referred to herein as the CLO HoldCo Funds..

                                                      2
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   6. CLO HoldCo will maintain interests in real property assets of an unencumbered value of
      at least the amount of the Registry Funds, and I will provide a quarterly certification to
      counsel for the Trust confirming the maintenance of the CLO Asset Value.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct to the best of my knowledge and belief.

Executed on September 27, 2021


                                                     /s/ Mark Patrick
                                                    Mark Patrick




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